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ORlG\NAL                                               lft;SDC ~DN\:'
                                                                                                                     'I


  UN I TED STATES DI STR I CT COURT
                                                                        I D()(T\!F\T
  SOUTHERN DISTRICT OF NEW YORK                                         ! ELi· ( 1 RO'        IC.-\ l LY FILED
  LO KAI HOL DINGS , LLC,                                              ' DOC #:
                               Pl a intiff ,                           1   oATE f--1L-E-
                                                                                      _o-:- 11 ......
                                                                                                11,- ~---;r-1--, -
                    - against -
                                                                  21 Civ . 04466 (LLS)
  BRETT SUNDBERG , RACHAEL SUNDBERG , AND
  DOES 1 - 10 ,
                                                                     OPIN I ON       &   ORDER
                                      De f endants .

        Plaintiff Lokai Holdings , LLC brings cla i ms unde r the

  Lanham Act and New York law against defendant s Brett Sundberg ,

   Rachael Sundberg and Does 1 - 10 (coll ective ly , "defendants " ) f o r

   their unauthorized sale of allegedly counterfeit copies of

   plaintiff ' s trademarked bracelets .

        Defendant s move to dismi ss the claims agai n st them under

   Federal Rules of Civil Procedure                  2 (b )( 2 ) , ( 3 ) and ( 6 ) .

   Alter ac · vely , defenda      s     ove to era sfer c e                 accer        o       e

   United Staces Distric        Court for the District of U ah, purs a c

   to 28 U. S.C. § 1404 .

         For the reaso s s a ed be ow , defe .dants'                        o ion         o

   trans=er is gra     ed .

                                        BACKGROUND

        According to the Complaint, plaintiff i s a manufactu rer a nd

   seller of a variety of unique bracel ets , known as "Lokai

   Bra celets" . Compl .   ~~   13 - 16 . Plaintiff own s v al id trade ark

   registrations for several of the Lokai bracelets . _d .                               ~~   _ 6- 2 . .

   Defendants ,   through an onlin e st o refr ont c alled "PE YT EYBUG" ,

   available on the online marketplace " JANE . COM ", offer for sale

                                              - 1-
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unauthorized copies of plaintiff 's Lokai bracelets . Id .                          ~~    31 -

33 , 46 ,       56 - 60 .

       Plaintiff discovered the allegedly infringing bracelets on

defendants ' website around December of 2020 , and sent a letter

to the online marketplace , JANE . COM , requesting the counterfeit

goods be removed from the site . Id .              ~~    39 - 40 . A representative

 from the website responded to plaintiff 's request , explaining

that the products were removed , and providing plaintiff with

 PEYTEYBUG ' s contact information . Id.            ~~    41 - 42 .

      On Decembe r 28 , 2020 , plaintiff ' s counsel se n t defendants a

cease - and - desist demand . Id .      ~   42 . Since that time , d efe ndant s

 stopped se lling th e counterfeit product s, and s ubsequently

 reported to plaintiff the sales figure s of the infringing

bracelets , although def e nda cs failed to re port to plain ~ff 's

 counsel al _ colors of che bracelets offered on the sc orefront

 and how long che bracelecs            ave been o:fered . Id .            ~   43 - 50 .

According to defendan s,            the sale o : che al egedly infring·ng

 bracelecs o -Y generaced in cotal S2,237 . 87 i                      prof~t . See D: .

 Br . at    ~    11.

       After the Complaint wa s fi l ed, the parties attempted to

 se ttle the matter , but d isc u ssi on s between th e parties brok e

 down when def e ndan ts ceased to provide the requested sales

 information and became non - responsive .                Comp 1. 4 9 .

       Defendant s now move to di s mis s the claims a gainst them for

 improper venue ,           lack of personal jurisdiction and failure to


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state a claim , or to transfer the case to the District of Utah .

           The case should be transferred to Utah .

                                  DISCUSSION

                                       1.

           Defendants argue that their out - of - state associations make

venue improper in this District . In this case , defendants

operate the PEYTEYBUG business from their home in Utah . See Of .

Br . at~ 2 , Ex . A at~ 3 . PEYTEYBUG sells its women ' s and

children ' s fashion accessories solely through the online

marketplace JAN E . COM . Of . Br . at~~ 2 , 4, Ex . A at ~3 .

 Defendants do not maintain any business office s, brick and

mortar locatio .s, or distribution centers in New York or

anywhere else in the world . Of . Br . at~ 4 , Ex . A at~ 5 .

 PEYTEYBUG has no e ployees besides Defendant Rachael Sundberg ,

 and Ms . Sundberg has never traveled to        ew York for purposes of

 conducting b siness =or PEY EYBUG. Of . Br . aL         8,   Ex . A a    51:.

 6,   9.     Defe dants do, however, pro ote and advertise the

 braceleLs i        e w Yor   hro g h operat~on o = Le webs~Le, w ~c. ~s

 accessible to people in New York .

           Although venue in this District is proper, the Court may ,

 "For the convenience of parties and witnesses , in the interest

 of justice ,     [ ] transfer any civil action to any other district

 or division where it might have been brought ." 28           . s.c . §

 1404 (a ) .

           28 U. S . C . § 1404(a) gives district courts wide latitude to


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decide whether to transfer venue . See Everlast World ' s Boxing

Headquarters Corp . v . Ringside , Inc ., 928 F. Supp. 2d 735 , 743

 (S . D. N. Y. 2013) . " In deciding motions to trans f er , courts

inquire , first , whether the action could have been brought in

the transferee district and , if yes , whether transfer would be

an appropriate exercise of the Court ' s discretion ." Id .

 (internal citations and quotation marks omitted ) .

       Under 28 U. S . C . 139l (b) (1 ) , this action could have been

brought in the Di stri ct of Utah , si nce all defendant s reside in

Utah . See 28 U. S . C . 139l(b ) (1)   ( "A civil action may be b r ought

 in (1) a jud i cial di stri ct in which any defendant resides, if

all defendants are residents of the State in which the di s trict

 is located . " ) .

       The second step of the 1404 (a ) analysis invites the Court

 to balance nine factors to determine whether transfer is a valid

 exercise of discretion . The cact ors the Court typically

 considers include : " ( 1 ) conve. ience of witnes ses;     (2 )

 convenience of che parcies ;      ( 3 ) loca ion of relevanc docu encs

 and the relative ease of access to sources of proof ;              ( 4) the

 locus of the operative facts;          (5) the availability of process to

 compel the attendance of unwilling witne sses;         (6) the relative

 means of the parties ;     (7) the comparative familiarity of each

 district with the governing law ;         (8 ) the weight accorded to

 plaintiff's choice of forum ; and ( 9 ) judicial ec onomy and che

 interests o f justice ." Freeplay Music , LLC v . Gibson Brands ,


                                        - 4-
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 Inc ., 195 F . Supp . 3d 613 ,     616   (S . D. N. Y. 2016) .

      On balance , those factors favor transfer to Utah .

                                          2.

      "The convenience of witnesses is an important

 consideration , and has often been described as the single most

 important§ 1404(a) factor ." Everlast , 928 F . Supp . 2d at 743 .

 In a trademark infringement action , the " most critical witnesses

may be those officers and employees who were involved in the

 sale of the    [ allegedly]    i nf ringing products . " . ESP N,          Inc. v .

 Quiksilver ,   Inc .,   581 F . Supp . 2d 542 , 548       (S . D. N. Y. 2008 )

 (int ernal citation and quotation               arks omitted) .

      Here , defendant s have demon stra ted that the pertinent

 witnesses are in Utah . Rachael Sundberg - the individual accused

 of selling     he infringing produc s- lives in Ut ah, with her

 husband , and i s c e ch~e =,      if. o        so l e, employee o= PEY _E YB "G,

 ocher than h er ch· dren , who assisc, and a fa ily friend _oca ed

 in Utah who "occasionally helped out " . See Of . Br . at 11 ; Ex . A

 at ~g 4 - 6 . Plaintiff doe s no         eaningfully contest those fac s .

 There f or e , the convenience of witnesses favors of transfer .

       "A defenda nt moving f or transfer must s how both that the

 origin al forum is inconvenient for it and that the plaintiff

 would not be substa nt ial ly inconvenienced by a transfer . "

 Everlast ,   928 F . Supp . 2d at 744         ( S.D .   . Y. 2013) (ci a ion

 omitted) . A motion to t ra nsfer "should not be granted if all

 transfer would accomplish is to shift the inconvenience from one


                                          - 5-
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party to the other. " Guardian Life Ins . Co . of Am . v . Hernandez ,

No . 11 CIV . 2 114 SAS , 2011 WL 3678134 , at *3           (S . D. N. Y. Aug . 22 ,

2011) .

         Defendants have shown that a transfer would not merely

shift the inconvenience from one party to the other : defendants

are individuals , not a large corporation . They state that they

have limited means and resources to litigate this matter ,

especially where the cost of traveling to New York for the

purpose o f litigati o n ma y ex c eed the v alue of actual damages i n

 t h e case . Se e Df . Br . at 1 2 .

                                          3.

         " The location of the operative event s i s a primary factor

 in determining a § 1404( a ) motion to tran s fer ." Sma rt v . Goo r d ,

 21 F . Supp . 2d 309 , 316 ( S . D. . Y. 1998 )   (citation omitted ) . This

 factor weighs heavily in :avor of transfer fro.                 he district

 when a par y "has not shown that any of the operative :acts

 arose in the Sou hern Distric           of      ew York ." Dr . Boy GmbH v .

     ationwide Ins .,   o . 96 Civ . 3217 (AGS ) ,      996 WL 35 0 699 , at ~2

 (S . D. N. Y. June 25 , 1996) .

         Plaintiff a s serts that Ne w York i s t he locu s of ope ra tive

 facts s ince the " fact s concerning the brand and intellectual

 property ,, are in     ew York and some of the allegedly infringing

 items were ordered :ro         and shipped        o   ew York (albeit a

 nominal amount equaling roughly 114 of 8 , 592 products , see Ex . A

 ~    12 - 13 ) . Plaintiff argues that the " majorit y ,, of courts in t hi s


                                          - 6-
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District have held that in cases where sales have been made in

the district , the initially chosen forum is the locus of

operative facts , even where sales have been made in other

districts         (as they have here, see Ex. A~ 13 ) . See Pl . Br. at

22 - 23      (citing Am . Eagle Outfitters , Inc. v . Tala Bros . Corp .,

 457 F . Supp. 2d 474 , 477        (S . D. N. Y. 2006 ) (" In trademark

 infringement cases , courts in this District have found that the

 l o cus of operative facts weig h s in fav o r of maintaining the

 o ri g inal v e nu e wher e t h e de f end a nt s e lls th e alle g e dly

 infringing product s in t h a t       fo r um ." )) .

            Several court s in thi s Dist r ict h a ve found that hold i ng

 "not persuasive ", and in s tead held chat if " there a re roughly

 equivalen        sale s of an a llegedly infringing product in              ultip _e

 districts , each such di s trict has a roughly equivalent cl a i                  to

 being the locus of operative facts ." CYI , Inc . v . Ja - Ru , Inc .,

 913 F . Supp . 2d        6, 2   {S . ~ . . Y. 20_2 ) ; accord Enigma So:cware

 Grp . USA , L~C v . Ma warebytes         = c .,    260 F . Supp . 3d 40: , 410 - 1

 ( S . D.    . Y. 20 _ 7 ) ( "':'' .e Court decL.nes co find t ac the locacio       of

 con s ume rs fa vo rs Ne w Yo rk wh ere only a small fracti o n o f

 con s umers of the product at i ss ue bought th e product iss u e in ,

 or are located in , New York ." ) ; Alpha I ndu s ., Inc . v . Alpha

 Clothing Co . LLC ,        o . 21 CIV . 87    (KPF) , 2021 WL 2688722 , a t *7 - 8

 (S . D. N. Y. June 30 , 2021) (" While the Court recognizes that sales

 did occur in thi s District                ., that consideration is accorded

 ' substantially diminished weight '               in light of Defendants '


                                            - 7-
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submissi o n that its sales were nationwide . ) .

       Based on the sales data before the Court , 1 . 33 percent of

the total accused product sales occurred in New York , 3 . 4

percent occurred in Utah , and the remainder occurred in other

 states . Of . Br ., Ex . A~ 13 . Given those facts , there are a

number of districts with a " roughly equivalent claim" to being

the locus of o perative facts.              Viewed in conjunction with the

o ther facts c o ncerning defenda n ts '           al l egedly infringing

 a c t iv ities , th e l oc u s o f o p e ra tiv e f ac t s fa vo rs tra n sfer t o

 Utah , where defend a nt s o r d ere d t h e a ll ege dly in fr ingin g good s,

where they operate the PEYTEY BUG we b s it e , a nd from wh e r e th e

 bracelets are packaged and shipped to purchas e rs . See Cartier v .

 D & D Jewelry I por s ,         510 F . Supp . 2d 344 , 346 ( S . D.       . Y.

 2007 ) ( locu s o= operative fact weighed in favor of transfer fro

  ew York where defendants were loca ed in California , its

 web s ite wa s operated out of California , a nd th e allegedly

 infringing items were shipped fro                 California ) ; see also

 Freeplay _ usic ,     ~~C   v . Gibson Brands , =nc . ,      _95 F . Supp . 3d 613 ,

 619 (S . D. N. Y. 2016) ( " [E]ven though s ome operative fact s occurr e d

 in New York where the copyright s are own e d and where the a lleged

 injury occurred , the Court i s per s u a d e d that mo s t of the

 operative fact s weigh in favor of tran s f e r to Tenne ss ee ." )

                                             4.

        For the reasons d es cribed in conn e ction with the

 c o nvenience o f the parties , the relative means of the parties


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fa vo rs Utah . De f endants are indi v iduals , not corporations , who

have declared that defendant Rachael Sundberg is a stay-at-home

mom who only generated $2,237.87 in profits from the sale of the

accused products. See Of . Br ., Ex . A. i i 3 , 12 .                   Plaintiff , on

the other hand , appears to be a mul t i-million-dollar corporation

 (see Izen Deel . at i       15 , stating "To date , Lokai has generated

millions of dollars in revenue .                        " ) and i 16 , discuss in g

plaintiff ' s donation of $8 million , comprising 10 % of its net

p r o fits ) and h as ma d e n o a n a logou s c l ai m o f fi n a n c i a l h arm i n

 pur s uing its claims in Utah .

                                            5.

       While defendants ' busine ss record s and information

 regarding the purcha s e and sale of the a llegedly infringing

 prod cts are loca ed in Utah , see D: . Br . at                    1 - 2 , "the

 location of docu e ts and records is not a co pelling

 considerat~on when records are easily portable . " Astor Holdings ,

 Inc . v . Roski ,    o . 01 CIV . 1905 (GEL ) , 2002 WL 72936 , at *12

 (S . D. . . Y. Jan . 17 , 2002 ) . Therefore , thi s factor is neutral.

                                            6.

       Under Rule 45 of the Federal Rule s of Civil Pr ocedure , a

 di s trict court generally can only i ss ue a s ubpoena that would

 compel a non - party witne s s to travel within 100 mile s of the

 state in which the witne ss resides , i s employed , or regular_y

 tran s acts busines s in person . Fed .           K.    Civ . P . 45 (c ) ( l ) (A) .

 Ho wever , "[w]here there is no indication that non-party


                                            - 9-
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 witnesses will refuse to appear , courts will consider the

 availability of process to compel the attendance of witnesses a

 neutral factor ." See Alpha Indus ., Inc ., 2021 WL 2688722 , at *9

 (internal citations omitted) .

       Neither Plaintiff nor Defendants have concretely identified

 particular non-party witnesses who are unwilling to testify . 1

 Even if a witness declines to testify , "deposition testimony is

 a viable alternative ." NBA Properties , Inc . v . Salvino , Inc. ,

 No . 99 CIV . 11799 AGS , 2000 WL 323257 , at *8              (S . D. N. Y. Ma r. 27 ,

 2000) . This factor thus has little bearing on the Court 's

 determination .

                                           7.

       While a plainLiff's choice of forum "is entitled to

 signirica nt consideration and will not be disturbed unless other

 factors weigh strongly in favor of transfer" , Royal                    &


 S nalliance v . Br~ ish A~rways, 167 F . S pp . 2d 573, 576

  (S . D. . Y. 2001 ) , Lha- choice" erits le ss deference where the

 connecLion beLween Lhe case and Lhe chosen foru                      is mini al ."

 Everlast , 928 F. Supp . 2d at 748             (S . D. N. Y. 2013)   (internal

 citation and quotation marks omitted) ; see also D' Anton Jos ,

 S.L. v . Doll Factory, Inc.,          937 F . Supp. 320 , 323 (S.D . N. Y.



 : De=enda~cs Sr~e= staces, "~e=endants are _o cated in Uta h , as are :~ke: y
  nw~lli .g ) wicnesses associaced wich ~e=endancs" , and cheir Kep: y states,
 "8 t to che exte     plain i== · n e .. ds co cal crial w · nesses chac include
 employees o= J ane, Bre c (who should no be na ed as a parcy a all ) , or
 Rachael 's family friend . . . these witnesses will all presumably be
 unwilling to testify voluntarily at trial . .         "    See Df . Br . at 13 ; Df .
 Reply Br . at 8 . This is not concrete evidence of a non - party witnesses '
 unwillingness to testify.
                                          -1 0 -
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 1996)     (" [A]lthough a plaintiff ' s choice of forum is generally

 given substantial weight , this presumption does not apply in

 cases such as this one where there is little material connection

 between the chosen forum and the facts and issues of the

 case ." ) .

          In this case , plaintiff , who maintains its principal

 address in New York (Compl.         ~   5) , chose to bring the action in

 the Southern District of New York , presumably since this

 District is the most convenient for Lokai . However , given the

 abo v e stated facts showing that New York lacks a strong,

 material connection to the cause of action, this fact o r does not

 sig ni fica ntly s hi ft the balance in favor o f retention .

                                          8.

          Utah is equally competent to hear de fe ndant s' federal

 Lanham Act claims . Plaintiff doe s rai se two           ew York sta te law

 causes of action, which favors retaining the case in the

 Southern District of        ew York .     See   BA Properties , Inc ., 2 00 0

 WL 323257 , a - ...-9 _ ( " Where , as here ,   here are s taLe law claims ,

 the forum's familiarity with governing l aw s upport s retention of

 the action ." )    (internal citations and quotation marks omitted ) .

 Thi s factor thus we igh s sl ightly against tr a n sfer. See ESP,

 Inc . v . Quik s ilver , Inc ., 581 F . Supp . 2d 542, 55 0 - 51 (S . D. . . Y.

 2008 )    (no ing that this is one of the least i porLanL factors ) .

                                    CONCLUSION

          Defendants ' motion to transfer to Utah is granted.


                                         -11-
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       So Ordered .

 Dated :     New York , New York
             November 22 , 2021

                                                 Louis L . Stanton
                                                    U. S . D. J .




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